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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:
MIDNIGHT MADNESS DISTILLING LLC,                              CHAPTER 7
                                                              Case No. 21-11750-PMM
                       Debtor.




BONNIE B. FINKEL, in her capacity as Chapter 7                Adv. No. 23-00047-PMM
Trustee for Midnight Madness Distilling LLC,

                       Plaintiff,
               v.

CASEY PARZYCH, et al.,

                       Defendants.




                      DISCLOSURE OF EUGENE T. PARZYCH, INC. AND
                       FINLAND LEASING CO., INC. AS REQUIRED BY
                    FEDERAL RULE OF BANKRUPTCY PROCEDURE 7007.1

       Hal Pitkow, Esquire, being first duly sworn, hereby deposes and states as follows:

       1.      I am an attorney with offices at 1107 Taylorsville Road, Suite 101, Washington

Crossing, Pennsylvania.

       2.      This Statement is filed in accordance with Rule 7007.1 of the Federal Rules of

Bankruptcy Procedure.

       3.      Neither Eugene T. Parzych, Inc., nor Finland Leasing Co., Inc. has a parent

corporation or publicly held corporation that owns more than ten (10%) percent of their stock.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
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Dated: February 27, 2025.

                                                   Respectfully submitted,




                                                     /s/ Hal Pitkow
                                                   ________________________
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                                                     Attorney for Eugene T. Parzych, Inc.
                                                     Finland Leasing Co., Inc. and
                                                     Gary Parzych
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing filing was served on February 27, 2025, via the Court’s
ECF system and/or electronic mail upon the following counsel of record:

/s/ Joseph R. Heffern                 /s/ Steven L. Caponi           /s/ Andrew J. Belli
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Can Man LLC                           Attorneys for Casey
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                                      Angus Rittenburg; Ashleigh     Bonnie Finkel, Chapter 7
                                      Baldwin; R.F.                  Trustee
                                      Culbertson; Michael Boyer;
                                      Kelly Festa,
                                      Polebridge, LLC; Good
                                      Design, Inc.; AgTech
                                      PA LLC; AgTech VI, LLC;
                                      XO Energy
                                      Worldwide, LLLP; XO EW,
                                      LLC; Best Bev,
                                      LLC; EtOH Worldwide,
                                      LLC; and Canvas 340
                                      LLC



                                                              /s/ Hal Pitkow
                                                            _________________________
                                                             Hal Pitkow, Esquire
